Case 2:05-cV-02109-.]P|\/|-de Document 18 Filed 06/15/05 Page 1 of 3 Page|D 32

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IN THE UN:TED STATES DISTRICT COURT
FOR THE wESTERN D:STRICT OF TENNESSEE QSJUH g P ;
wESTERN DIVISION " 5 M h Oh

 

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CLEH% .e PE}§S\ OT
MORGAN & THORNBURG, INC., W.D §§ ,KTELAPHE

Plaihtiff,

v. NO. 05-2109 Ml/V
M.A. MORTENSON COMPANY,
FEDERAL INSURANCE COMPANY,
and AMERICAN HOME ASSURANCE
COMPANY,

Defendante.

\»-_/~_/`_/-.__,~_.,`.,~__/~._/-_/~_/-_/-.,

 

ORDER GRANTING MOTIONS FOR ADMISSION PRO HAC VICE

 

lt ie ORDERED that the June 13, 2005, Motion for Admieeion Pro
Hac Vice cf Attorhey‘JameS J. Hartnett, IV en behalf cf Defendante
M.A. Morteheon COmpany and Americah Home Aseurance Company ie

hereby GRANTED.

ENTERED this [\5 day of June, 2005.

Q M“@QQ

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

    

 

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Tiais document entered on the deer/et Sheet ln compliance
wm~. mile 53 and/or 79(3) FHCP on 'O

 

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This notice confirms a copy of the document docketed as number 18 in
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Honorable J on McCalla
US DISTRICT COURT

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